EXHIBIT D
Department of Homeland Security
U.S. Citizenship and Immigration Services G-56, Call in Notice

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Rahul Dev MANCHANDA File Number: A219 127 279
Sylwia Ewelina MANCHANDA
| West End Ave Apt 14B

New York, NY 10023 Date: February 14, 2020

 

 

 

Please come to the USCIS office shown below at the time and place indicated in connection with an official matter.

 

New York City Field Office
7th Floor — Room 700

Office Location 26 Federal Plaza (Please use Lafayette St.

(include Room No. and Floor No.)

 

 

entrance)

New York, NY 10278
Date and Hour 5/12/2020 at 8:00 am
Ask for ISO

 

Stokes Interview - Both Petitioner and
Beneficiary must be present.

Bring with You See attached

Reason for Appointment

 

 

 

 

 

It is important that you keep this appointment and bring this letter with you. If you are
unable to do so, state your reason, sign below and return this letter to this office at once.

 

1am unable to keep the appointment because:

Sincerely,

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Susan Quintana
Field Office Director
New York City Field Office

 

Signature Date

 

 

 

 

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INFORMATION REGARDING YOUR INTERVIEW

Who Must Attend:

_ The Petitioner and Beneficiary must attend this interview. Your attorney or authorized representative
may attend as well.

Request for Interpreter:

If the Petitioner and/or Beneficiary will require an interpreter for the interview, you must submit the
enclosed “Attachment to G-56.”

What to Bring to the Interview:

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Photo identification for the Petitioner. Examples of proper photo identification are U.S.
passports, driver’s licenses, or state-issued identification cards. Store-bought identification cards
are not considered proper identification. Failure to bring proper photo identification may result in
the denial of the petition.

Proof of the Petitioner’s United States Citizenship, such as a U.S. Passport, Certificate of
Naturalization, or birth certificate,

Beneficiary’s passport and 1-94 card

Social Security cards for Petitioner and Beneficiary

Birth certificates for all of Petitioner’s children and all of Beneficiary’s children

Marriage certificate or registration from civil authorities

Proof of termination for all prior marriages, such as divorce decrees, death certificates or
annulments

Court dispositions for all of Beneficiary’s arrests, if any. You must bring the court disposition
even if the charges have been dismissed or expunged.

Employment letters from Petitioner's and Beneficiary’s employer. Employment letters should be
on company letterhead and signed by an official of the firm. The letter must state the date
employment began, salary, marital status, number of dependents claimed, and whom to notify in
case of emergency.

10) Latest two (2) pay stubs or earnings statements for Petitioner and Beneficiary
11) Federal income tax return for the last (2) years. Income tax returns should be signed and dated.

Proof of filing is required.

12) 2°x2” passport-style photos of Petitioner and Beneficiary
13) Any evidence that you and your spouse have a bona fide relationship, Such evidence may consist

of, but is not limited to: bank letters, bank statements, lease agreements, rent receipts, mortgage
agreements, health insurance policies, life insurance policies, utility bills, tax returns, and
photographs.

NOTE: You must bring the originals and photocopies of all documents submitted during the interview,
including photocopies of your passport, identification cards, and photographs. Pursuant to $ CFR -
103.2(b) (1), the Service will retain for the record any original documents submitted as evidence unless a
photocopy is made. Please assemble your documents for submission in a neat and organized manner.

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ATTACHMENT TO G-56
REQUEST FOR INTERPRETER

If the Petitioner and/or Beneficiary require the service of an interpreter for your interview, you must
complete this form and mail it to:

US. Citizenship & Immigration Services
26 Federal Plaza, 7" Floor, Room 7-700
Attn: ISO

New York, NY 10278

Today’s Date:

 

Name of Petitioner:

 

Name of Beneficiary:

 

Beneficiary’s alien number (“A-number”):

 

Address:

 

 

Date of Interview:

 

Time of Interview:

 

Language / Dialect Requiring Interpreter:

 

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YOUR RIGHTS AND PRIVILEGES

Your rights and privileges during this interview and any other I-130 adjudication proceedings include the
following:

1)

2)

3)

4)

6)

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8)

You can be represented by an attorney or representative of your choosing at no expense to the
government. If you cannot afford a lawyer, a list of legal services is available upon request.

You may present evidence on your own behalf, including live witnesses. You will be given an
opportunity to cross-examine those persons who provide evidence against you and an opportunity
to rebut any such adverse evidence.

You of your attorney or representative can, at any time, inspect your record of proceedings,

Upon request, a copy of any statement signed by your spouse before any immigration officer shall
be furnished to you or your spouse promptly.

Upon proper showing, you or your attorney or representative can compel the attendance of
witnesses or the production of books, papers, and other documentary evidence through a properly
issued subpoena.

There will be a verbatim recording made of the entire adjudication proceedings before the
immigration officer.

If during the adjudication proceedings, the presiding immigration officer refers your visa petition
to the investigative unit, then your case must be referred back to the presiding immigration officer
for further proceeding and adjudication.

You will receive a written decision based solely on the evidence in the record of proceedings. If
the decision is adverse, you will be informed of the reasons therefore and of your right to appeal
to the Board of Immigration Appeals within thirty (30) days from the date of the mailing of the
notice of decision.

A more detailed statement of your rights and privileges regarding a spousal visa petition proceeding is

available.

 

 

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New York, NY 19278
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